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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
NEW YORK ex rel. VINOD KHURANA,                                        :
                                                                       :
                                    Plaintiff,                         :
                                                                       :      15-CV-6605 (JMF)
                  -v-                                                  :
                                                                       :          ORDER
SPHERION CORP.,                                                        :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

        The final pretrial conference scheduled for October 29, 2020, at 10:00 a.m. will be held
remotely by teleconference in accordance with Rule 2(A) of the Court’s Emergency Individual
Rules and Practices in Light of COVID-19, available at https://nysd.uscourts.gov/hon-jesse-m-
furman. The parties should join the conference by calling the Court’s dedicated conference line
at (888) 363-4749 and using access code 542-1540, followed by the pound (#) key. (Members of
the public and press may also attend using the same dial-in information; they will not be allowed
to speak during the conference.)

        As stated in Rule 2(C)(ii) of the Court’s Emergency Individual Rules and Practices in
Light of COVID-19, no later than 24 hours before the conference, the parties shall email the
Court a list of counsel who may speak during the teleconference and the telephone numbers from
which counsel expect to join the call. More broadly, counsel should review and comply with the
rules and guidance regarding teleconferences set forth in the Court’s Emergency Individual
Rules and Practices in Light of COVID-19.

        SO ORDERED.

Dated: October 27, 2020                                    __________________________________
                                                             __________________ _ _____________
       New York, New York                                           JESSE M. F FURMAN
                                                                                URMAN
                                                                  United States District Judge
